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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA, )                       No. 11 CR 299
                          )
        v.                )                       Magistrate Judge Young B. Kim
                          )
ANTHONY MONEYHAM,         )
                          )
               Defendant. )                       MAY 4, 2011

                                 PROTECTIVE ORDER

       Upon the unopposed motion of the United States for a protective order pursuant to

Federal Rule of Criminal Procedure 16(d)(1), it is hereby ordered that:

       1. All Title III applications, affidavits, and orders produced by the government in

connection with this case, and all other investigative materials and reports disclosed by the

government in original or redacted form, may be utilized by the charged defendant and his

counsel solely in connection with the defense of this case and for no other purpose and in

connection with no other proceeding. The materials and their contents, and any notes,

records or copies of any kind that defense counsel or the charged defendant may make

relating to the contents of materials provided by the government shall not be disclosed either

directly or indirectly, verbally or in writing, to any person or entity other than the charged

defendant, his counsel, such other persons as are reasonably employed by them as may be

necessary to prepare a defense, or such other persons as to whom the court may authorize

disclosure. These restrictions do no apply to documents or materials that are public record,

including, but not limited to, transcripts of proceedings; documents, recordings and other
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materials that have been received in evidence at public hearings or proceedings, or

documents or materials that are otherwise in the public domain.

       2. All materials provided by the government may be utilized by the charged defendant

and his counsel solely in connection with the defense of this case and for no other purpose

and in connection with no other proceeding. The materials and any of their contents shall not

be disclosed either directly or indirectly to any person or entity other than the defendant,

defendant’s counsel, persons assisting in the defense, persons who are interviewed or

consulted during the course of the investigation of this case or such other persons as to whom

the court may authorize disclosure. Any notes or records of any kind that defense counsel

or the defendant may make relating to the contents of materials provided by the government

shall not be disclosed to anyone other than the defendant’s counsel, and persons employed

to assist the defense, or such other person as to whom the court may authorize disclosure, and

all such notes and records shall not be disclosed except as provided by this order.

       3. The materials shall not be copied or reproduced except so as to provide copies of

the material for the use by each defense lawyer and the charged defendant and such persons

as are employed by them to assist in the defense and such copies and reproductions shall be

treated in the same manner as the original matter.

       4. The restrictions set forth in this order do not apply to documents that are public

record, including but not limited to, trial transcripts, documents that have been received in

evidence at other trials, or documents that are otherwise in the public domain.



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       5. Defense counsel shall advise his client of the contents of this order without delay.

Intentional violation of this order is punishable as a contempt, and may result in the

imposition of civil and criminal sanctions. However, nothing contained in this protective

order shall preclude any party from applying to the court for further relief or for modification

of any provision hereof.

                                                   ENTER:




                                                   YOUNG B. KIM
                                                   United States Magistrate Judge




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